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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No. 20-cv-02819-KLM

STEPHEN BUSHANKY,

       Plaintiff,

v.

ON DECK CAPITAL, INC.,
NOAH BRESLOW,
JANE J. THOMPSON,
RONALD F. VERNI,
DANIEL HENSON,
NEIL E. WOLFSON,
CHANDRA DHANDAPANI,
BRUCE P. NOLOP, AND
MANOLO SÁNCHEZ,

     Defendants.
_____________________________________________________________________

                            MINUTE ORDER
_____________________________________________________________________
ENTERED BY MAGISTRATE JUDGE KRISTEN L. MIX

       In accordance with Plaintiff’s Notice of Voluntary Dismissal [#7] filed pursuant to Fed.
R. Civ. P. 41(a)(1)(A)(i),

       IT IS HEREBY ORDERED that this case is DISMISSED. The Clerk of Court shall
close this case.

       Dated: December 8, 2020
